                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF ALABAMA
                               SOUTHERN DIVISION

DAN BUNKERING (AMERICA) INC.,

       Plaintiff,

v.                                                              Case No.: 19-413

EPIC HEDRON in rem
EPIC DIVING & MARINE SERVICES
LLC in personam
EPIC COMPANIES, LLC in personam,

       Defendant.


             ORDER FOR ISSUANCE OF WARRANT OF ARREST, IN REM

       Considering the foregoing Verified Complaint filed herein and upon determination that

the conditions set forth pursuant to Rule C of the Supplemental Rules for Certain Admiralty and

Maritime Claims and Civil L.R. 104(a) and (c) have been met,

       IT IS HEREBY ORDERED that the Clerk of Court issue a Warrant for the Arrest of the

EPIC HEDRON, her engines, rigging, tackle, equipment, furnishings, and fixtures.

       Plaintiff has agreed to release and hold harmless, and indemnify the United States of

America, the United States Marshal, their agents, servants, employees, and all others for whom

they are responsible, from any and all liability or responsibility for claims arising from the arrest

or attachment of the vessel.

       Mobile, Alabama, this ____day of July, 2019.



                                              UNITED STATES DISTRICT COURT JUDGE
